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Elizabeth A. McKanna, OSB No. 89306

E-mail: |mckanna@mbilaw.com »
l\/lCKANNA BlSHOP JOFFE & SULL|VAN LLP .». -=. 1
1635 NW Johnson Street

Portland OR 97209

Telephone: (503) 226-6111

Facsimile: (503) 226-6121

 

Of Attorneys for Plaintiff Klein

lN THE UN|TED STATES DISTR|CT COURT

D|STR|CT OF OREGON

LAURA KLE|N,

Case No. CV-02-1451-l\/lO
Plaintiff,

JUDGMENT
v.
JOHN l\/ch/-\LE,

Defendant_

This action came on for trial before the Court and a jury, Honorable l\/lichael W.
l\/losman, District Judge, presiding, and the issues having been duly tried and the jury having
duly rendered its verdict, a copy of Which is attached hereto, on plaintiff’s claim for intentional
infliction of severe emotional distress,

lT |S ORDERED AND ADJUDGED that plaintiff, Laura Klein1 recover of defendant, John
l\/chale:

(a) the sum of $5,789.71 in economic damages, With post-judgment interest thereon at
the rate of 2.03 per cent from the date of entry ofjudgment until paid, as provided by law; and

(b) the sum of $102,000.00 in non-economic damages, with post-judgment interest

thereon at the rate of 2.03 per cent from the date of entry ofjudgment until paid, as provided by

law.

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oaer at Portiand, oregon, this ‘7/<)/ day of rf@z§g\~c&o@/, 2004.
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'ivlicHAEl_ vv. rvloslviAN, u. s. cal/strict Judge
suBr\/uTTED BY;

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Elizabeth A. ivicKanna, osB #89306
Attorney for P|aintiff

 

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IN THE UNITED STATES DIS'I`RICT COURT

FOR THE DISTR]CT OF OREGON
LAURA KLEIN,
No. CV 02-1451-MO
Plaintiff,
VERDICT
v.
JOHN McHALE,
Defendant

We, the jury, answer the questions put to us as follows:
1. Do you find defendant McHale liable for damages caused by the infliction of

severe emotional distress?

Yes `/ No (Check one)

 

Ifyes, go to Question 2. If no, stop here.
2. (a) What.is the total amount of economic damages, including lost wages and
medical expenses, incurred by plaintiff as a result of the actions of defendant McHale?

$ 51-<3‘?,?-‘

(b) What is the total amount of noneconomic damages for pain and suffering

 

which should be awarded to' plaintiff as a result of the actions of defendant McHale?
$ /'OZ/ @C)U

 

DATED this Zf)+i`day of Augusr, 2004.

g ,Z)IM!:

PRESIDING JUROR

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CERTIFlCA TE OF SERVlCE

| hereby certify that l served the foregoing JUDGMENT on the following individual by
depositing a true, full and exact copy thereof, With the United States Postal Service at
Portland, Oregon, on August 31, 2004, enclosed in a sealed envelope, With postage paid,
addressed to:

John l\/chale

PO Box 2153
Blue Bell PA 19422

DATED this 31&"t day of August, 2004.

%M///¢W

Elizabeth l\`/ici<anna, osB No. 89306
Of Attorneys for Plaintiff

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CERTIFlCATE OF SERVlCE

Y\i(`K/\NNA BlSllOl’ JO["FE & SULLIV.»\N l.[.l)
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F."\X (503)12()~()1'.11

